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 8
                                   UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                          OAKLAND DIVISION
11
   UNITED STATES OF AMERICA,                   ) CASE NO. 4:19-cv-04281 KAW
12                                             )
          Plaintiff,                           ) STATUS REPORT
13                                             )
       v.                                      )
14                                             )
   BTC-e, a/k/a CANTON BUSINESS CORP.,         )
15                                             )
   and                                         )
16                                             )
   ALEXANDER VINNIK                            )
17                                             )
          Defendants.                          )
18                                             )

19          Plaintiff United States of America (“Plaintiff” or the “United States”) submits this status report
20 pursuant to the Clerk’s Notice dated February 12, 2020, directing Plaintiff to file a status report no later

21 than March 6, 2020. ECF No. 8. Plaintiff apologizes for the delay in submitting this report, which

22 resulted from oversight in failing to file a notice of substitution of counsel to redirect ECF notifications,

23 including the Clerk’s Notice, following the departure of Plaintiff’s prior counsel in this action. Notice of

24 substitution has now been filed, see ECF No. 9, and Plaintiff will receive notification of—and timely

25 respond to—all future notices from the Court.

26          Despite its diligence, the United States has not yet been able to serve Defendants. Defendants
27 are located in a foreign country and, as a result, service is governed by Federal Rule of Civil Procedure

28 4(f). Rule 4(m), which sets forth a time limit for service, “does not apply to service in a foreign country

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 1 under Rule 4(f)[.]” Fed. R. Civ. P. 4(m). Nevertheless, Plaintiff has been diligent in attempting to serve

 2 Defendants abroad. After filing the complaint on July 25, 2019, ECF No. 1, Plaintiff began the process

 3 of serving Defendants pursuant to the Convention on the Service Abroad of Judicial and Extrajudicial

 4 Documents in Civil or Commercial Matters (“Hague Service Convention”). At that time, Defendants

 5 were located in Greece. Accordingly, Plaintiff translated the complaint and summons to Greek and

 6 completed the Request for Service Abroad of Judicial or Extrajudicial Documents, as required by the

 7 Hague Service Convention. However, in January 2020, before Plaintiff could complete service,

 8 Defendant Vinnik was extradited to France. Accordingly, the United States is in the process of re-

 9 translating the appropriate documents into French in order to accomplish service on Defendants in
10 France.

11           If the Court deems it appropriate, the United States will file another status report in ninety days,

12 or by July 23, 2020.

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14                                                         Respectfully submitted,

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                                                           DAVID L. ANDERSON
16                                                         United States Attorney

17 Dated: April 24, 2020                            By:    /s/ Savith Iyengar
                                                           SAVITH IYENGAR
18                                                         Assistant United States Attorney

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